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                     Exhibit 6
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                                                 Products              Recipes             We Are Gorton’s                 Responsibility         Where to buy




                              The Latest and Greatest
                                                                         Gorton’s in the press
                                                                                          Press Inquiries


                                                        All                               In the News                          Press Releases



                               2018-12-18
                               Gorton’s Seafood And The New England Aquarium Celebrate 10
                               Years Of Improving And Promoting Sustainable Fisheries
                               The two institutions work in tandem to transform the industry,
                               positively impacting the health of the ocean and consumers.



https://www.gortons.com/gortons-seafood-and-the-new-england-aquarium-celebrate-10-years-of-improving-and-promoting-sustainable-fisheries/                                     1/2
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                                                                       Products                     Seafood Recipes              Company                Connect
                                                                       Delicious Classics           Time Saving                  We Are Gorton’s        Find your Favorites
                                                                       Smart Solutions              Foodie Approved              Careers                Contact Us
                                                                       Everyday Gourmet             Kid Friendly                 Special Offers
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                                                                                      Also of Interest
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  Gorton's Seafood And The New England Aquarium
  Celebrate 10 Years Of Improving And Promoting
  Sustainable Fisheries
  The two institutions work in tandem to transform the industry, positively impacting the health of the
  ocean and consumers




  NEWS PROVIDED BY
  Gorton’s Seafood 
  Dec 18, 2018, 15:00 ET




GLOUCESTER, Mass., Dec. 18, 2018 /PRNewswire/ -- Gorton's Seafood and the New England Aquarium today celebrated a 10-
year partnership of bringing sustainable seafood to consumers. Due to its close partnership with the Aquarium's Anderson
Cabot Center for Ocean Life, Gorton's can proudly claim 100% of its principal products are certified sustainable or in full
assessment for certification. A focus of the partnership has been on increasing the number of fisheries and farms that are
environmentally certified by a third party. Environmental certification provides assurance that these fish are caught or farmed
in ways that protect the long-term supply of seafood and minimize impact on ecosystems.




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 Team members from Gorton’s Seafood and the New England Aquarium’s Anderson Cabot Center for Ocean Life celebrate 10 years of
 partnership. L to R: Greg Jeffers of Gorton’s; Jennifer Couture of the Anderson Cabot Center; Don Lynch and Lisa Webb of Gorton’s; Joel
 Southall and Michelle Cho of the Anderson Cabot Center; Vikki Spruill, CEO of the New England Aquarium; Judson Reis, President and CEO
 of Gorton’s; Stu Hudson of Gorton’s; Matt Thompson and John Mandelman of the Anderson Cabot Center.



When the sustainability movement gained traction a decade ago, Gorton's, America's most iconic seafood brand, was ahead
of the trend in its quest to understand the science behind health of seafood species and the impact climate change has on
the fishing industry. As Gorton's sought to understand how best to preserve the health of the ocean through sustainable
sourcing and operations - a critical move for the survival of the industry - they established a pioneering partnership with the
Aquarium.


The partnership began in 2008 when the Aquarium conducted an assessment of Gorton's products to evaluate the level of
relative environmental sustainability of the species in Gorton's retail business. In the decade since, and most recently led by
the Anderson Cabot Center, the two institutions have worked closely to transform science into action. Today, they celebrated
their partnership in a small event at Gorton's headquarters.


Gorton's and the Aquarium have a shared commitment to sustainability practices, working collaboratively to conserve our
ocean and provide healthy, life-sustaining food to consumers. The Anderson Cabot Center uses pioneering conservation
research to improve ocean health. With the guidance of the Center's scientists and researchers, and with its continuously
improving sustainability practices, Gorton's is using its clout as an industry leader to affect change all along the supply chain.
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One major component of this     1:22-cv-10599-PBS
                            effort is the developmentDocument  14-7 Filed
                                                      of a traceability     06/22/22
                                                                        program.      Page
                                                                                  Working  6 ofthe
                                                                                          with  7 Anderson Cabot Center,

Gorton's created a seafood traceability program that allows for collection and management of relevant fishery and supply
information to ensure the fish is certified as sustainable, as well as traceable to the source.


"This partnership is among the first examples of a big brand really focusing on sustainability," said New England Aquarium
CEO Vikki Spruill. "It's unique in that it combines our scientific expertise from a nonprofit perspective with a long-operating
seafood company. This has led to an impressive utilization of science and scale to make a real impact on an industry that's
critical to both feeding the growing population and helping maintain healthy oceans."



Gorton's and the Anderson Cabot Center have aided numerous fisheries and farms to employ sustainable practices to achieve
environmental certification, which not only lifts the entire industry to a higher standard, but also ensures the survival of an
industry as old as time.



"At Gorton's, we can only achieve our mission - to help consumers lead healthier lives by eating more seafood - if the oceans
and seafood species remain healthy," said Judson Reis, President and CEO at Gorton's. "Working with the Anderson Cabot
Center has given us the scientific backing to drive change to that end. Together we're getting more fisheries and farms
certified, which means healthier oceans, healthier fish populations, and healthier protein options for consumers."



This partnership will remain at the forefront of advancing sustainability practices as Gorton's and the Anderson Cabot Center
continue to chart the course of continual improvement in 2019 and beyond. For example, Gorton's is applying its success with
seafood certification to drive advancements in wild caught shrimp and pollock from the western Bering Sea. As Gorton's looks
to diversify its seafood portfolio and continue to better protect the world's seafood resources, Gorton's and the Anderson
Cabot Center will continue setting and achieving new goals that further our understanding of climate change impacts and
create new strategies to further sustainability.

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Building on the Aquarium's 50-year legacy of protecting the blue planet and advocating for vital and vibrant oceans, the
Anderson Cabot Center for Ocean Life leads the way in cutting-edge applied marine research and data-driven conservation,
offering practical solutions to mitigate human impacts on our ocean.



About Gorton's Seafood
Since 1849, Gorton's mission has been to help people everywhere enjoy the goodness of great seafood. Headquartered in
Gloucester, Massachusetts, Gorton's is one of America's oldest continuously operating companies, and continues to be the
innovation leader in the frozen seafood industry. Gorton's proudly stands behind the promise that consumers can "Trust the
Gorton's Fisherman" for the best-tasting, highest-quality and most convenient seafood.



SOURCE Gorton’s Seafood




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